              Case 15-11611
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                                 UNITED STATES BANKRUPTCY COURT
                                                        DISTRICT OF MASSACHUSETTS
                                                             BOSTON DIVISION

In re: AILEEN MARIE DEFILIPPO                                                                          Case No.: 15-11611-MSH

                 Debtor(s)

                       CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Carolyn A. Bankowski, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to
11 U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 04/24/2015.
2) The plan was confirmed on 06/01/2015.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on 07/21/2015, 08/25/2016, 08/23/2017,
    01/22/2018, 07/06/2018.
5) The case was completed on 07/17/2018.
6) Number of months from filing or conversion to last payment: 39.
7) Number of months case was pending: 40.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 13,318.18.
10) Amount of unsecured claims discharged without full payment: 30,024.07.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:             $5,400.00
        Less amount refunded to debtor:                            $.00
 NET RECEIPTS:                                                                   $5,400.00

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                $3,010.00
        Court Costs:                                                                $.00
        Trustee Expenses and Compensation:                                      $361.51
        Other:                                                                      $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                $3,371.51

 Attorney fees paid and disclosed by debtor:                  $990.00



 Scheduled Creditors:
Creditor                                                       Claim            Claim            Claim          Principal           Interest
Name                                         Class             Scheduled        Asserted         Allowed        Paid                Paid

ALTAIR OH XIII LLC                           Unsecured             521.15          521.15          521.15           48.35                 .00
AMERICAN INFOSOURCE LP                       Unsecured             158.00          457.87          457.87           42.47                 .00
AMERICAN INFOSOURCE LP                       Unsecured             234.00          225.13          225.13           20.79                 .00
CHASE                                        Unsecured                  NA            NA               NA              .00                .00
CHASE MTG                                    Secured                    NA            NA               NA              .00                .00
CITGO/CBSD                                   Unsecured             323.00             NA               NA              .00                .00
CITY OF BROCKTON                             Secured             1,264.47        1,130.80        1,130.80        1,130.80                 .00
COLLECTION                                   Unsecured           1,530.81             NA               NA              .00                .00
COLLECTION                                   Unsecured             323.11             NA               NA              .00                .00
COMM OF MASS, DOR                            Priority                   NA         835.19              .00             .00                .00
COMM OF MASS, DOR                            Unsecured           1,992.69        1,704.62        1,704.62          158.13                 .00
DISCOVER BANK                                Unsecured           4,804.11        4,804.11        4,804.11          445.65                 .00
HOUSEHOLD FINANCE                            Unsecured          17,660.85             NA               NA              .00                .00
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                                  UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF MASSACHUSETTS
                                                        BOSTON DIVISION

In re: AILEEN MARIE DEFILIPPO                                                                           Case No.: 15-11611-MSH

                 Debtor(s)

                       CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim               Claim          Claim          Principal            Interest
Name                                       Class              Scheduled           Asserted       Allowed        Paid                 Paid

JPMORGAN CHASE BANK, NA                    Unsecured                  NA                .00            .00              .00                .00
JPMORGAN CHASE BANK, NA                    Unsecured                  NA                .00            .00              .00                .00
MCYDSNB                                    Unsecured               328.57               NA             NA               .00                .00
MIDLAND CREDIT MANAGEMENT INC              Unsecured                  NA          18,988.87            .00              .00                .00
MIDLAND FUNDING                            Unsecured             2,122.47               .00            .00              .00                .00
MIDLAND FUNDING LLC                        Unsecured                  NA                NA             NA               .00                .00
NATIONAL GRID                              Unsecured             1,965.00          1,965.16      1,965.16           182.30                 .00
NATIONAL GRID                              Unsecured             1,077.38               NA             NA               .00                .00
SEARS /CBNA                                Unsecured                  NA                NA             NA               .00                .00
SUNOCO/CITI                                Unsecured                  NA                NA             NA               .00                .00
VERIZON                                    Unsecured                  NA                NA             NA               .00                .00

 Summary of Disbursements to Creditors:                                                          Claim          Principal            Interest
                                                                                                 Allowed        Paid                 Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                .00             .00                  .00
     Mortgage Arrearage:                                                                              .00             .00                  .00
     Debt Secured by Vehicle:                                                                         .00             .00                  .00
     All Other Secured:                                                                          1,130.80        1,130.80                  .00
 TOTAL SECURED:                                                                                  1,130.80        1,130.80                  .00

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                       .00              .00                .00
     Domestic Support Ongoing:                                                                         .00              .00                .00
     All Other Priority:                                                                               .00              .00                .00
 TOTAL PRIORITY:                                                                                       .00              .00                .00

 GENERAL UNSECURED PAYMENTS:                                                                     9,678.04           897.69                 .00

 Disbursements:
        Expenses of Administration:                                                             $3,371.51
        Disbursements to Creditors:                                                             $2,028.49
 TOTAL DISBURSEMENTS:                                                                                                              $5,400.00

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:     08/31/2018                                     By:   /s/Carolyn A. Bankowski
                                                                                  Chapter 13 Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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